
OPINION OF THE COURT
PER CURIAM.
The state admitted that defendant’s vehicle was inoperable by failing to traverse a Motion to Dismiss pursuant to Rule 3.190(c)(4), Florida Rules of Criminal Procedure. Although this defense may have been successful at trial, the fact of inoperability did not conclusively establish defendant’s innocence as a matter of law. Because the state is not required to prove that a vehicle is operable to establish a prima facie case of driving under the influence, the court properly denied the Motion to Dismiss. Jones v State, 510 So.2d 1147 (Fla. 1st DCA 1987).
AFFIRMED. McNEAL, R., PETERSON, E., TOMBRINK, R., concur.
